Case 2:20-cv-11181-CAS-JPR Document 34 Filed 07/13/21 Page 1 of 2 Page ID #:262




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   9
  10                      UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 NEMAN BROTHERS & ASSOC.,                  Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
  14                                           DEFENDANT AND
                  Plaintiff,                   COUNTERCLAIM PLAINTIFF
  15                                           INTERFOCUS, INC. D.B.A.
           v.                                  WWW.PATPAT.COM’S
  16                                           APPLICATION TO FILE UNDER
     INTERFOCUS, INC. d.b.a.                   SEAL PREVIOUSLY ENTERED
  17 www.patpat.com, a Delaware                INTO SETTLEMENT
     Corporation; CAN WANG, and                AGREEMENT
  18 individual, and DOES 1-10, inclusive.,
                  Defendants.                   Date: August 16, 2021
  19                                            Time: 10:00 am
                                                Courtroom: Courtroom 8D
  20
     INTERFOCUS, INC. d.b.a.                   The Hon. Christina A. Snyder
  21 www.patpat.com, a Delaware
     Corporation; CAN WANG, an
  22 individual, and DOES 1-10, inclusive,
  23              Counterclaim Plaintiffs,
  24        v.
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
                  Counterclaim Defendant.
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         APPLICATION TO FILE UNDER SEAL PREVIOUSLY ENTERED INTO SETTLEMENT AGREEMENT
Case 2:20-cv-11181-CAS-JPR Document 34 Filed 07/13/21 Page 2 of 2 Page ID #:263




   1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2        Please take notice that, under Local Rule 79-5.2.2(a), Defendant and
   3 Counterclaim Plaintiff InterFocus Inc., d.b.a. www.patpat.com. (“InterFocus”)
   4 respectfully applies to file under seal a settlement agreement previously entered into
   5 between InterFocus and Plaintiff Neman Brothers, Inc. (“Neman Brothers”). A
   6 redacted version of that agreement is attached as Exhibit 2 to the Declaration of
   7 Weiwei Le filed in support of InterFocus’ Motion for Summary Judgment. An
   8 unredacted copy of that settlement agreement is designated Exhibit 3 and reattached
   9 to the concurrently filed Declaration of Mark S. Lee in support of this Application.
  10 A Proposed Order is also filed concurrently herewith.
  11
                                               RIMON, P.C.
  12 Dated: July 13, 2021
  13
                                           By: /s/ Mark S. Lee
  14
                                               Mark S. Lee
  15                                           Zheng Liu
  16                                           Attorneys for Defendants and
                                               Counterclaim Plaintiffs
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                                               INTERFOCUS, INC. d.b.a.
  18                                           www.patpat.com
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         APPLICATION TO FILE UNDER SEAL PREVIOUSLY ENTERED INTO SETTLEMENT AGREEMENT
